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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CAUSE OF ACTION INSTITUTE,                 )
                                           )
                  Plaintiff,               )
                                           )
            v.                             )  No. 1:18-cv-2373-ABJ
                                           )
UNITED STATES                              )
DEPARTMENT OF JUSTICE,                    )
                                          )
                  Defendant.              )
__________________________________________)

     PLAINTIFF CAUSE OF ACTION INSTITUTE’S OPPOSITION TO
  DEFENDANT DEPARTMENT OF JUSTICE’S MOTION FOR SUMMARY
    JUDGEMENT AND CROSS-MOTION FOR SUMMARY JUDGMENT

     Under Federal Rule of Civil Procedure 56 and Local Civil Rule 7, Plaintiff

Cause of Action Institute opposes Defendant Department of Justice’s motion for

summary judgment, ECF No. 19, and cross-moves for summary judgment.

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                                  INTRODUCTION

      What is a record?         This deceptively simple question has dogged

administration of the Freedom of Information Act (“FOIA”) for years. This case

provides the opportunity to answer that question. Reading the FOIA’s text together

with Supreme Court precedent shows that a record is (1) any informational

material, (2) created or obtained by an agency, (3) in the control of an agency when

a request is made, and (4) in the format that the agency maintains that material at

the time of the request.

      This case comes in the aftermath of the D.C. Circuit’s decision in American

Immigration Lawyers Association v. Executive Office for Immigration Review

(“AILA”), which held that an agency may not redact information within a responsive

record just because the subject matter of that information is “non-responsive” to the

request. Instead, an agency must disclose a responsive record in its entirety as a

unit, subject only to nine statutory exemptions. As it expressly recognized, the

AILA court had no cause to address the definition of a record—but it did so anyway.

The district courts have begun to apply that dicta and are finding it unworkable.

      In response to AILA, Defendant Department of Justice (“DOJ”) issued

guidance that purports to define a record under the FOIA; that definition, however,

does not adhere to the FOIA’s statutory text or relevant precedent. The DOJ also

has continued to segment records to withhold information, contrary to AILA.

      Here, the DOJ identified three letters between DOJ officials and members of

Congress that were responsive to Plaintiff Cause of Action Institute’s (“CoA

Institute”) FOIA request.    Each of those letters enclosed and incorporated by
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reference either questions for the record (“QFRs”) submitted by members of

Congress or DOJ responses to such QFRs. Instead of producing each of those letters

and its attachment as a unit, however, the DOJ applied its guidance and segmented

the attachments into smaller “records,” many of which it then withheld from CoA

Institute as “non-responsive.”

      This case presents two issues. First, does the DOJ guidance defining a record

violate the FOIA?    Second, did the DOJ violate the FOIA when relied on that

guidance to segment unitary documents into smaller “records” and then to withhold

many of those “records” as non-responsive? The answer to both questions is yes.

                         FACTUAL AND LEGAL BACKGROUND

I.    The DOJ Guidance and Pattern of Segmenting Records

      The DOJ has a history of finding creative ways to withhold information it

finds “non-responsive” from requesters. It used to withhold this information by

applying exemption-like redactions labeled “non-responsive” to excise information

from within records. See, e.g., Decl. of R. James Valvo, III ¶ 20; Valvo Decl. Ex. 1.

      In 2016, the D.C. Circuit found that practice unlawful because the FOIA

“statute does not provide for . . . redacting nonexempt information within responsive

records.” AILA, 830 F.3d 667, 677 (D.C. Cir. 2016). The AILA court held that “the

statute compels disclosure of the responsive record—i.e., as a unit—except insofar

as the agency may redact information falling within a statutory exemption.” Id.

Importantly, the AILA court acknowledged that “the parties [had] not addressed the

antecedent question of what constitutes a distinct ‘record’ for FOIA purposes,” and




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that the court had “no cause to examine the issue.” Id. at 678. The D.C. Circuit

then, only “for that purposes of [that] case,” relied on the agency’s “own

understanding of what constitutes a responsive ‘record,’ as indicated by its

disclosures in response to AILA’s request.” Id.

      Unfortunately, the D.C. Circuit did not stop there and went on to include

dicta on the issue. The AILA court opined that “agencies . . . in effect define a

‘record’ when they undertake the process of identifying records that are responsive

to a request.” Id. Although that conclusion was plausible under the facts in that

case, it is legally incorrect as a principle to be applied in all FOIA cases, for the

reasons discussed below. But the AILA court did try to limit the reach of that dicta

by stating that it found “it difficult to believe that any reasonable understanding of

a ‘record’ would permit withholding an individual sentence within a paragraph

within an email on the ground that the sentence alone could be conceived of as a

distinct, nonresponsive ‘record.’” Id. at 679.

      Although a few district court opinions have relied on the AILA dicta to allow

agencies to segment responsive records, see Shapiro v. Cent. Intelligence Agency,

247 F. Supp. 3d 53, 74–75 (D.D.C. 2017), most district courts, including this one,

have begun to recognize the need to limit it. See Am. Oversight v. Dep’t of Health &

Human Servs., No. 17-1448, 2019 WL 1430429, at *3 (D.D.C. Mar. 30, 2019)

(refusing to allow agency to segment an email chain into multiple records); Judge

Rotenberng Educ. Ctr., Inc. v. Food & Drug Admin., No. 17-2092, 2019 WL 1296957,

at *7 (D.D.C. Mar. 21, 2019) (refusing to allow agency “midway through litigation”




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to redefine “collections of information that had been treated as one agency record as

multiple agency records”); Parker v. Dep’t of Justice, 278 F. Supp. 3d 446, 451–52

(D.D.C. 2017) (refusing to allow agency to segment a letter from its attachment);

Gatore v. Dep’t of Homeland Sec., No. 15-459, 2017 WL 10777326, at *2 (D.D.C.

June 27, 2017) (finding “specious the [agency’s] assertion that the entire FOIA

Processing Guide is not itself ‘a single discrete record’”).

      Unfortunately, instead of following AILA, the DOJ has continued to redact

information within responsive records, now under the label “non-responsive

records” instead of merely “non-responsive.” See, e.g., Pl.’s Statement of Undisputed

Material Facts ¶¶ 18–21 [hereinafter Pl.’s SUMF]; compare Valvo Decl. Ex. 1, with

Compl. Ex. 9 (DOJ re-producing the same email chain with “non-responsive”

redactions re-labeled “non-responsive record”).

      In an effort to defend its continued evasion of the FOIA’s requirements, the

DOJ issued guidance interpreting the AILA decision and advising DOJ components

and other agencies to apply the Privacy Act’s definition of a record when processing

FOIA requests.      Pl.’s SUMF ¶¶ 13–14; Compl. Ex. 6 at 2 [hereinafter DOJ

Guidance]. The Privacy Act defines a record, in part, as an “item, collection, or

grouping of information[.]” 5 U.S.C. § 552a(a)(4). The DOJ seized on this language

to contend that a record under the FOIA could be “an entire document, a single page

of a multipage document, or an individual paragraph of a document” or “an entire

string of emails, a single email within a string of emails, or a paragraph within a

single email[.]” DOJ Guidance at 2. The guidance also claims that the “nature of a




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FOIA ‘record’ is defined by both the content of a document and the subject of the

request.” Id.

      Here, the DOJ relied on its guidance to segment records responsive to CoA

Institute’s FOIA request and unlawfully withhold information.          See Def.’s

Statement of Undisputed Material Facts in Supp. of its Mot. for Summ. J. ¶ 21

[hereinafter Def.’s SUMF] (admitting the DOJ applied its guidance).

II.   The Administrative History of FOIA Request OLA/14-1096

      In December 2013, CoA Institute sent a FOIA request to the DOJ Office of

Information Policy (“OIP”) seeking documents related to Executive Order 13457 and

communications between officials related to the agency’s decisions to obligate or

expend funds. Pl.’s SUMF ¶ 1. In February 2014, OIP acknowledged receipt of the

request and assigned it tracking numbers, including OLA/14-1096. Id. ¶ 2.

      Over the past few years, OIP produced many documents responsive to

various parts of the request from various DOJ components. Id. ¶ 3. In January

2018, on behalf of the DOJ Office of Legislative Affairs, OIP sent a final

determination letter on the portion of the request that it had designated OLA/14-

1096. Id. ¶ 4. The letter summarized that in April 2016, CoA Institute and OIP

agreed the request covered “communications between a [DOJ] political appointee

and Members of Congress, their staff, or employees of the White House relating to

grants of the Office of Justice Programs, Office on Violence Against Women, and

Community Oriented Policing Services” and “records relating to Executive Order

13457.” Id. ¶ 5.




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       The letter stated that OIP and the Office of Legislative Affairs had “located

143 pages that contain records that are responsive to [the] request.”       Id. ¶ 6.

Although OIP claimed that it released thirty-two of those pages “without excisions,”

eleven pages bore redactions labeled “Non-Responsive Record” and OIP excised a

significant amount of information from those pages. Id. ¶ 7. OIP also withheld at

least seventy-one pages in full under Exemption 5, referred thirty-nine pages to

other DOJ components, and redacted information under Exemption 6. Id. ¶ 8. OIP

referred to the volume of the release by using the number of pages rather than the

number of records. But an examination of the materials produced reveals that OIP

released four records, although incompletely. Id. ¶ 9.

       CoA Institute filed an administrative appeal with OIP that contested the

withholding of information in Records 2, 3, and 4. Id. ¶ 10. In that appeal, CoA

Institute argued that Records 2, 3, and 4 each constitute a single record and that

OIP improperly segmented those records into multiple smaller “records” and

improperly withheld information within the responsive records. Id. OIP denied the

appeal. Id. ¶ 11.

III.   THE PROCEDURAL HISTORY OF THIS LAWSUIT

       In October 2018, CoA Institute filed this lawsuit raising two claims. First,

that the DOJ improperly segmented records responsive to FOIA request OLA/14-

1096 into what it claims are multiple smaller “records” and improperly withheld

information. Compl. ¶¶ 34–44. Second, that the DOJ guidance titled “Defining a

‘Record’ Under the FOIA” violates the FOIA, and that the DOJ has a policy or




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practice of relying on that guidance to improperly withhold information. Id. ¶¶ 45–

54. The DOJ answered the complaint, denying both claims. See Answer, ECF No.

12. Following a stay in the briefing schedule because of a lapse in government

appropriations, the DOJ moved for summary judgment on April 5, 2019. See Def.’s

Mot. for Summ. J. & Def.’s Statement of Points & Authorities in Supp. of its Mot.

for Summ. J. [hereinafter Def.’s Mot.], ECF No. 19. 1 CoA Institute now opposes and

cross-moves for summary judgment.

                 STANDARD OF REVIEW AND REMEDIAL AUTHORITY

      Summary judgment is appropriate when “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a).   In a FOIA case, “the burden is on the agency to sustain its

action[.]” 5 U.S.C. § 552(a)(4)(B). And a district court must determine de novo

“‘whether the agency has sustained its burden of demonstrating that the documents

requested . . . are exempt from disclosure[.]’” Multi Ag Media LLC v. Dep’t of Agric.,

515 F.3d 1224, 1227 (D.C. Cir. 2008) (citation omitted).

      An agency may meet its burden by supplying affidavits that “describe the

documents and the justifications for nondisclosure with reasonably specific detail”

that is “not controverted by either contrary evidence in the record nor by evidence of

agency bad faith.” Military Audit Project v. Casey, 656 F.2d 724, 738 (D.C. Cir.

1981); see 5 U.S.C. § 552(a)(4)(B). A district court should analyze “all underlying



1 In addition to moving for summary judgment, the DOJ re-produced a few pages it
had produced to CoA Institute at the administrative level, but with a couple of
redactions removed. That re-production does not affect the issues here.


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facts and inferences . . . in the light most favorable to the FOIA requester.”

Schoenman v. Fed. Bureau of Investigation, 575 F. Supp. 2d 136, 148 (D.D.C. 2008)

(citation omitted). If both parties move for summary judgment, each motion must

stand on its own. See Huffman v. W. Nuclear, Inc., 486 U.S. 663, 664 n.11 (1988).

      The “FOIA imposes no limits on courts’ equitable powers in enforcing its

terms.” Payne Enters., Inc. v. United States, 837 F.2d 486, 494 (D.C. Cir. 1988).

Those equitable powers extend to resolving policy-or-practice claims where “(1) the

agency in question has adopted, endorsed, or implemented a policy or practice that

constitutes an ongoing ‘failure to abide by the terms of the FOIA’; and (2) the

plaintiff will ‘suffer “continuing injury due to this practice.”’” Nat’l Sec. Counselors

v. Cent. Intelligence Agency, 898 F. Supp. 2d 233, 253 (D.D.C. 2012) (citing Payne

Enters., 837 F.2d at 491). Courts may resolve policy-or-practice claims under Payne

on summary judgment. See, e.g., Am. Ctr. for Law & Justice v. Dep’t of State, 289 F.

Supp. 3d 81, 90–91 (D.D.C. 2018).

      District courts have “wide latitude . . . to fashion remedies under FOIA,

including the power to issue prospective injunctive relief.”              Citizens for

Responsibility & Ethics in Wash. v. Dep’t of Justice, 846 F.3d 1235, 1242 (D.C. Cir.

2017) [hereinafter CREW] (citations omitted). That latitude includes the “power to

order relief beyond the simple release of extant records.” Id. On a policy-or-practice

claim, courts have “the power to enjoin a FOIA procedural violation . . . so long as

that violation was ‘in connection with the processing of the plaintiff’s FOIA




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requests.’” Nat’l Sec. Counselors, 898 F. Supp. 2d at 265 (citing Muttitt v. U.S. Cent.

Command, 813 F. Supp. 2d 221, 229 (D.D.C. 2011)).

      When an agency “employed the [challenged] policy or practice in violation of

FOIA, [the plaintiff] is, at a minimum, entitled to a declaratory judgment.” Mo.

Coal. for the Env’t v. Army Corps of Eng’rs, No. 18-663, 2019 WL 1411063, at *7

(D.D.C. Mar. 28, 2019). Declaratory relief can “serve a useful purpose in clarifying

the legal relations at issue or afford relief from the controversy giving rise to the

proceeding[.]” Id. (citing and commenting on President v. Vance, 627 F.2d 353, 364

n.76 (D.C. Cir. 1980)).

      Here, it is proper for the Court to resolve both parties’ motions for summary

judgment because the parties do not genuinely dispute any of the material facts

underlying either motion and both present purely legal issues.

                                     ARGUMENT

I.    The DOJ guidance defining a “record” violates the FOIA.

      The FOIA provides requesters access to records, “not information in the

abstract.” Forsham v. Harris, 445 U.S. 169, 185 (1980); see AILA, 830 F.3d at 677.

More precisely, the FOIA allows access to “agency records,” 2 and there is significant

jurisprudence interpreting that term. See, e.g., Dep’t of Justice v. Tax Analysts, 492

U.S. 136, 144–45 (1989). This case presents the unresolved antecedent question of



2 Agencies also maintain records that are not “agency records” subject to the FOIA.
See Bureau of Nat’l Affairs, Inc. v. Dep’t of Justice, 742 F.2d 1484 (D.C. Cir. 1984)
(“personal records”); Goland v. Cent. Intelligence Agency, 607 F.2d 339 (D.C. Cir.
1978) (“congressional records”). The DOJ does not dispute that the records at issue
are “agency records.”


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the definition of a “record.” Following AILA, this question is connected to agencies’

previous use of redactions labeled “non-responsive” to withhold information.

      Before AILA, agencies—including the DOJ—believed they could redact

material within a record because the subject matter of that material was non-

responsive to the request.    The D.C. Circuit has now foreclosed that practice

because the FOIA “does not provide for withholding responsive but non-exempt

records or for redacting nonexempt information within responsive records.” AILA,

830 F.3d at 677. Yet as shown by the DOJ’s behavior here and in its guidance, some

agencies now believe they can evade AILA by treating portions of records as

separate and distinct records and then withholding those supposedly distinct

records as “non-responsive.” That makes a mockery of AILA.

      The DOJ guidance and the agency’s use of it here are a “failure to abide by

the terms of the FOIA” and a “policy or practice [that] will impair [CoA Institute’s]

lawful access to information in the future.” Payne Enters., 837 F.2d at 491.

      A.     Courts review the DOJ definition of a “record” de novo.

      Courts review the definition of a “record” that agencies apply during informal

adjudications of FOIA requests de novo because Congress has not entrusted the

administration of the FOIA to any single agency.

      Courts defer to an agency’s reasonable interpretation of an ambiguous

statutory term in a statute entrusted to its administration, if the agency provides

that interpretation with the force of law. Chevron, U.S.A., Inc. v. Nat. Res. Def.




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Council, Inc., 467 U.S. 837 (1984). 3 But Courts “owe no particular deference to an

agency’s interpretation of FOIA.” Cause of Action v. Fed. Trade Comm’n, 799 F.3d

1108, 1115 (D.C. Cir. 2015) (cleaned up). It “is precisely because FOIA’s terms

apply government-wide that [courts] generally decline to accord deference[.]” Al-

Fayed v. Cent. Intelligence Agency, 254 F.3d 300, 307 (D.C. Cir. 2001). 4

      It is important “that the primary interpretive responsibilities rest on the

judiciary, [because its] institutional interests are not in conflict with [the FOIA’s]

statutory purpose,” as agency interests can be. Reporters Comm. for Freedom of the

Press v. Dep’t of Justice, 816 F.2d 730, 734 (D.C. Cir. 1987) rev’d on other grounds,

489 U.S. 749 (1989).     By providing uniform interpretations of statutory terms,

courts ensure the “meaning of FOIA [is] the same no matter which agency is asked

to produce its records.” Tax Analysts v. Internal Revenue Serv., 117 F.3d 607, 613

(D.C. Cir. 1997) [hereinafter Tax Analysts v. IRS].

      Courts have refused to defer to agency interpretations of various FOIA terms.

See Cause of Action, 799 F.3d at 1115 (no deference to agency interpretation of fee

provisions); Al-Fayed, 254 F.3d at 307 (same, “compelling need”); Reporters Comm.,

816 F.2d at 734 (same, exemption).       This refusal to defer to interpretations of

statutory terms is contrasted with the deference the FOIA demands for the


3 If Chevron does not apply, courts apply a less-deferential test and adopt the
agency’s position if it has the “power to persuade.” Skidmore v. Swift & Co., 323
U.S. 134, 140 (1944).
4 This lack of deference is contrasted with the Federal Records Act, which explicitly

commands that the Archivist’s “determination whether recorded information . . . is
a record . . . shall be binding on all Federal agencies.” 44 U.S.C § 3301(b).



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application of some exemptions.        See 5 U.S.C. § 552(a)(4)(B) (giving agency

affidavits “substantial weight”); Campbell v. Dep’t of Justice, 164 F.3d 20, 32 (D.C.

Cir. 1998) (“Because the FBI specializes in law enforcement, its decision to invoke

exemption 7 is entitled to deference.”). Courts also may defer to interpretations of

regulatory provisions that are not grounded in FOIA-defined terms, but that were

“promulgated in response to . . . an express delegation of authority[.]” Al-Fayed, 254

F.3d at 307 n.7 (deferring to agency interpretation of regulations about criteria for

expedited processing beyond those enumerated in the FOIA).

      Courts should not defer to any agency interpretation of the statutory term

“record”—whether announced in regulation, 5 guidance, or adjudication of a

request—so that the “meaning of FOIA [will] be the same no matter which agency is

asked to produce its records.” Tax Analysts v. IRS, 117 F.3d at 613.

      The AILA court’s unnecessary discussion of the definition of a record, despite

“the parties [having] not addressed” it and the court “[having] no cause to examine

the issue,” has created confusion, with some district courts improperly affording

what appears to be deference to agency interpretations. 830 F.3d at 678. In Lipton

v. Environmental Protection Agency, a district court mistakenly read AILA as

stating that courts “will not adhere to agencies’ definitions if they fall outside ‘any

reasonable understanding of a “‘record[.]””’ 316 F. Supp. 3d 245, 255 (D.D.C. 2018)

(emphasis added) (citing AILA). So too in Shapiro did a district court defer to an

agency’s interpretation when it wrote that an agency must “justify its actions when


5 See, e.g., 32 C.F.R. § 1900.002(n) (Central Intelligence Agency providing regulatory
interpretation of the term “record”).


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singling out a responsive record from a greater compilation of documents” and that

“explanation will merit a presumption of good faith.” 247 F. Supp. 3d at 75.

      Agency interpretations of the FOIA’s statutory terms are afforded no

deference. Cause of Action, 799 F.3d at 1115. The term “record” is no different.

This Court should apply de novo review to the definition of a “record” that the DOJ

used in processing the FOIA request at issue and as set forth in its guidance.

      B.     The term “record” is adequately defined in the FOIA’s
             statutory text and Supreme Court precedent.

      The FOIA is codified with the Administrative Procedure Act (“APA”), which

does not define the term “record.” See 5 U.S.C. § 551. The FOIA itself, however,

does define a “record” as “any information that would be an agency record subject to

the requirements of this section when maintained by an agency in any format,

including an electronic format[.]”   Id. § 552(f)(2)(A). 6   The FOIA’s definitions in

Section 552 provide more clarity on and are more specific than the APA’s definitions

in Section 551. Compare id. § 551 (“For the propose of this subchapter”), with id.

§ 552(f) (“For the purposes of this section”); compare also id. § 551(1) (defining

agency), with id. § 552(f)(1) (expanding on the APA definition of agency).

      Additionally, the use of the word “includes” followed by a description signals

that Congress intended Section 552(f) to be the FOIA’s statutory definition of the

term “record.”   Section 552(f) provides that a “‘record’. . . includes . . . any

information that would be an agency record, [etc.].” (emphasis added). This is a


6 The definition extends to “any information described under subparagraph (A) that
is maintained for an agency by an entity under Government contract, for the
purposes of records management.” 5 U.S.C. § 552(f)(2)(B).


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standard method of defining a statutory term and the construction mirrors that of

many definitions in Section 551. For example, in the APA, a “‘person’ includes an

individual, partnership, [etc.]”; a “‘party’ includes a person or agency, [etc.]”; and a

“‘license’ includes the whole or a part of an agency permit, [etc.].” Id. § 551(2), (3),

(8) (emphasis added).     Congress has repeatedly used this approach to define

statutory terms throughout the APA and did so in the FOIA as well.

      The dicta in AILA appears to have missed this distinction, stating that

although the “FOIA includes a definitions section, id. § 551, that section provides no

definition of the term ‘record.’” 830 F.3d at 678. But there the AILA court cited the

APA, not the FOIA.      The court did reference the Section 552(f) definition, but

inexplicably claimed that it only “describes the term ‘record’” and “provides little

help in understanding what is a ‘record’” as compared to the definitions of a record

in the Privacy Act, Presidential Records Act, and Federal Records Act. Id.

      It is conspicuous that the DOJ, both in its motion for summary judgment and

guidance, elevated the AILA court’s Privacy Act reference while ignoring the court’s

simultaneous citations to the Presidential Records Act and Federal Records Act.

See Def.’s Mot. at 8 (arguing that because “the AILA court specifically referenced

the Privacy Act’s definition of a record” it is “hard to see how OIP violated FOIA by

instructing agencies to look to that definition”); DOJ Guidance at 2.         The DOJ

makes no attempt to analyze or harmonize all three of the record statutes the AILA

court referenced; its decision to elevate and rely only on the Privacy Act’s definition

is atextual to the FOIA, cherrypicked from AILA, and entitled to no deference.




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       This Court should conduct its analysis based on the FOIA because the

statutory text contains two clauses that establish a sufficient definition of the term

“record.” See Lamie v. U.S. Tr., 540 U.S. 526, 534 (2004) (“The starting point in

discerning congressional intent . . . is the existing statutory text[.]”).

       The first clause of the FOIA definition—“any information that would be an

agency record subject to the requirements of this section”—describes the type of

material that qualifies as a record. 5 U.S.C. § 552(f)(2)(A). This clause incorporates

the concept of an “agency record” as defined by the Supreme Court’s decision in Tax

Analysts, which requires that an agency (1) “create or obtain the requested

materials” and (2) “be in control of the requested materials at the time the FOIA

request is made.” 492 U.S. at 144–45. This first clause also clarifies that the FOIA

covers informational material generally, not just documents. See N.Y. Times Co. v.

Nat’l Aeronautics & Space Admin., 920 F.2d 1002, 1005 (D.C. Cir. 1990) (finding

audiotapes covered); Save the Dolphins v. Dep’t of Commerce, 404 F. Supp. 407, 411

(N.D. Cal. 1975) (finding video recordings covered because in “common parlance

[‘record’] includes various means of storing information for future reference”). The

DOJ does not dispute that the records at issue—three letters and their

attachments—are “information that would be an agency record subject to the

requirements of this section[.]” 5 U.S.C. § 552(f)(2)(A).

       The second clause of the definition—“when maintained by an agency in any

format, including an electronic format”—describes the status of informational

material in the agency’s hands before a requester submits a request. Id. Congress




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added this definition in the Electronic Freedom of Information Act Amendments of

1996, Pub. L. 104-123, § 3, 110 Stat. 3048, 3049, to ensure that electronic records, in

addition to paper documents and other tangible objects, were covered by FOIA. See

S. Rep. 104-272, 27 (1996) (The FOIA “requires that Federal agencies provide

records to requesters in any form or format in which the agency maintains those

records[.]” (emphasis added)).    Thus, it was Congress’s intent to allow access to

informational materials in the form or format the agency currently maintains them.

      This focus is important because a requester may not ask an agency to create

or manipulate an existing record in response to a FOIA request. An “agency is not

required to reorganize its files in response to a plaintiff’s request[.]” Goland v. Cent.

Intelligence Agency, 607 F.2d 339, 353 (D.C. Cir. 1978) (citation and internal

quotation marks omitted). That is because the FOIA “does not obligate agencies to

create or retain documents; it only obligates them to provide access to those which it

in fact has created and retained.” Kissinger v. Reporters Comm. for Freedom of the

Press, 445 U.S. 136, 152 (1980). As a corollary, the FOIA should be interpreted so

that an agency must process and disclose any informational material responsive to

a request in the “form or format in which [it] maintains those records.” S. Rep. 104-

272, 27 (1996). An agency should not be allowed to divide an existing record (e.g., a

document it maintains as a unit) into multiple so-called “records” to withhold

information from a requester.

      This approach entails that, contrary to the DOJ guidance, records exist

objectively and are not created or defined based on the intent of a requester or a




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FOIA officer’s interpretation of that intent. For example, if an agency maintains a

report as one cohesive document or computer file (such as a PDF file), then the

entire report is one FOIA record. The district court in Gatore v. Department of

Homeland Security reached precisely this result when it analyzed the status of the

agency’s FOIA Processing Guide and found that, “given the Department’s own

indications that the FOIA Processing Guide is a cohesive record, complete with

separately and continuously numbered sections and appendices . . .            it defies

common sense to conclude that [the guide], in toto, does not constitute a ‘record’

subject to disclosure pursuant to the FOIA.” 2017 WL 10777326, at *2.

      C.     The DOJ guidance is untenable because a record must pre-
             exist a request.

      The DOJ’s approach to defining a record is that the “nature of a FOIA ‘record’

is defined by both the content of a document and the subject of the request.” DOJ

Guidance at 2. In other words, the DOJ believes a FOIA record does not exist until

an agency receives, interprets, and processes a request. That approach is untenable

because a record must pre-exist a request. This is so for at least six reasons:

      (1) Requesting Only Extant Records: The DOJ guidance clashes with the

rule that requesters may request only records that already exist at the time of their

request. See Judicial Watch, Inc. v. Dep’t of Commerce, 583 F.3d 871, 874 (D.C. Cir.

2009) (“FOIA . . . applies only to existing records[.]”) (citation omitted). But if a




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record does not exist until the agency defines it during its search and in response to

a request, how can there be an existing record when the request is submitted? 7

      District court application of the AILA dicta already has created tension with

this longstanding rule. In Shapiro, the district court found that when the agency

“located the responsive pages related to Shapiro’s FOIA request . . . [t]his set of

documents (i.e., pages) became the responsive record[.]”     247 F. Supp. 3d at 75

(emphasis added). If the pages “became” the record when the agency located them

during the search, what were the pages before the request and agency search? If

not yet a record, how could the requester have submitted a request for a record that

did not yet exist?       See Became, Merriam-Webster (“to come into existence”),

http://bit.ly/2Uiw1DN (last visited Apr. 26, 2019).

      (2) Uniformity: The DOJ guidance conflicts with the rule that the “meaning

of FOIA should be the same no matter which agency is asked to produce its

records.” Tax Analysts v. IRS, 117 F.3d at 613. Under the DOJ guidance, this rule

is violated because, for example, one agency may treat its email chains as a single

record, while others may segment email chains into multiple records case-by-case.

Indeed, even the same email chain within the same agency could be treated as a

single record or as multiple records, depending on the request.         But see Am.

Oversight, 2019 WL 1430429 (refusing to allow agency to segment an email chain

into several records).



7 Aristotle, Metaphysics IV.3 (350 BC) (It “is impossible for anyone to believe the
same thing to be and not to be” because “it is impossible that contrary attributes
should belong at the same time to the same subject[.]”).


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      (3) Surplusage: The DOJ’s position would create surplusage in the FOIA’s

venue-selection provision, which provides that venue for a FOIA lawsuit is proper,

among other places, in the district “in which the agency records are situated[.]”

5 U.S.C. § 552(a)(4)(B).   When a requester sues based on delay and before the

agency has conducted its search, under the DOJ guidance the agency would not

have yet defined the record. But if that position were correct, then those records

would not be “situated” anywhere—they do not exist—and the venue option would

be nullified.   Elementary canons of statutory construction counsel against that

result. The canon against surplusage teaches that courts should construe terms “to

give effect, if possible, to every clause and word of a statute[.]” Duncan v. Walker,

533 U.S. 167, 174 (2001) (cleaned up). And courts should “interpret [a] statute as a

symmetrical and coherent regulatory scheme, and fit, if possible, all parts into an

harmonious whole[.]” Food & Drug Admin. v. Brown & Williamson Tobacco Corp.,

529 U.S. 120, 133 (2000) (cleaned up).

      (4) The DOJ Annual FOIA Report: The DOJ’s own behavior outside the

context of processing a FOIA request contradicts the idea that records are defined in

relation to a request. The FOIA requires that every fiscal year each agency report

its FOIA activities. See 5 U.S.C. § 552(e). Among the items agencies must report is

“the number of records that were made available for public inspection in an

electronic format under subsection (a)(2).”    Id. § 552(e)(1)(Q) (emphasis added).

Those records include (1) final opinions and orders made in the adjudication of

cases; (2) statements of policy and interpretations adopted by the agency but not




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published in the Federal Register; (3) administrative staff manuals that affect the

public; and (4) agency records that have been requested three or more times or are

likely to be the subject of frequent requests. Id. § 552(a)(2)(A)–(D).

      The DOJ provides guidance in a handbook for agencies creating these annual

reports. See Pl.’s SUMF ¶ 22; Valvo Decl. Ex. 2 [hereinafter DOJ FOIA Annual

Report Handbook]. In that handbook, the DOJ advises agencies to report when

they proactively release “certain categories of records without waiting for a specific

request to be received.”    DOJ FOIA Annual Report Handbook at 62 (emphasis

added).     This reporting includes the “first three categories of subsection (a)(2)

records, [which] concern the operational documents of the agency[.]”        Id. at 63

(emphasis added). Agencies report the number of records proactively released by

both their FOIA and program offices. Id. at 62.

      In the DOJ fiscal year 2018 annual report, the agency reported that it

proactively released more than 5,700 records. See Pl.’s SUMF ¶ 23; Valvo Decl. Ex.

3 at 2–3. Although a small portion of these records were released because they were

“frequently requested,” see 5 U.S.C. § 552(a)(2)(D)(ii), the majority were released

under Section 552(a)(2)’s first three categories (that is, opinions and orders, policy

statements, and staff manuals) and without receiving a request. This is so because

more than 4,700 of the records that the DOJ reported were released under

subsection (a)(2) were released by DOJ program offices, not the FOIA offices that

would have handled frequent FOIA requests. Valvo Decl. Ex. 3 at 2–3. Because

records released under the first three categories of (a)(2) are released “without




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waiting for a specific request to be received,” it must be that those records were

defined, identified, and counted without reference to a request or a FOIA officer’s

interpretation of a request’s intended scope. DOJ FOIA Annual Report Handbook

at 62. Thus even the DOJ—when counting records and not processing a request—

believes that records exist objectively and independently of a FOIA request.

      (5) Agency Control: The FOIA applies only to “agency records,” not

congressional, personal, or presidential records. A record is an agency record if it

was created or obtained by the agency and in the agency’s control at the time of the

request. Tax Analysts, 492 U.S. at 144. In determining control, courts often apply

the four-factor Burka test, which looks to “’(1) the intent of the document’s creator

to retain or relinquish control over the records; (2) the ability of the agency to use

and dispose of the record as it sees fit; (3) the extent to which agency personnel have

read or relied upon the document; and (4) the degree to which the document [is]

integrated into the agency’s record systems or files.’” Burka v. Dep’t of Health &

Human Servs., 87 F.3d 508, 515 (D.C. Cir. 1996) (citation omitted). 8

      Each of these factors necessarily considers how an agency treated a record

before receiving a request seeking that record’s disclosure.      For example, when

determining whether a record is a congressional record, courts “safeguard Congress’



8  With purported personal records, courts may apply a “totality of the
circumstances” test that examines the Burka factors and other aspects of how a
record was created, maintained, or used. Bureau of Nat’l Affairs, Inc., 742 F.2d at
1492–93. Similarly, with congressional or presidential records, the first two Burka
factors are typically dispositive under the “modified control test.” Judicial Watch,
Inc. v. Secret Serv., 726 F.3d 208, 221–24 (D.C. Cir. 2013). The differences between
these tests are inconsequential to CoA Institute’s argument here.


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long recognized prerogative to maintain the confidentiality of its own records” and

focus their inquiry on Congress’ intent “to control the requested records.” United

We Stand Am., Inc. v. Internal Revenue Serv., 359 F.3d 595, 600 (D.C. Cir. 2004)

(citation omitted).    Congress must affirmatively express this intent either

“contemporaneous[ly] and specific[ly]” with the transfer of the record to an agency,

Paisley v. Cent. Intelligence Agency, 712 F.2d 686, 694 (D.C. Cir. 1983), or before the

agency creates the record at congressional direction. See Am. Civil Liberties Union

v. Cent. Intelligence Agency, 823 F.3d 655, 666–67 (D.C. Cir. 2016).          And the

determination that a document or other informational material is a congressional

record means that it is a record independently of a FOIA request. Indeed, because

Congress must express its intent to retain control either contemporaneous with the

transfer of a record, or specific to the conditions under which a record is created at

congressional direction, the designation of the record must occur before a FOIA

request is ever submitted. Both Congress and the agency, in other words, must

know what constitutes a record independently of a request and before applying the

agency-control test.

      The Internal Revenue Service (“IRS”) manual exemplifies this process. The

IRS manual directs that when the congressional Joint Committee on Taxation

(“JCT”) “corresponds with the IRS under its general oversight authority, it

generally includes a legend . . . that restricts the dissemination and use of both the

inquiry and responsive records.”    Internal Rev. Manual § 35.5.4.9.      That legend

currently states: “This document is a record of the [JCT] . . . and is entrusted to the




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Department of the Treasury for your use only in handling this matter.” Id. The

congressional control extends not just to the JCT’s incoming letters but to IRS

responses as well, which “are records of the [JCT] and shall be segregated from

agency records and remain subject to the control of the [JCT].” Id. (emphasis added

throughout). 9 These arrangements make no sense unless the IRS and the JCT are

discussing records that already exist at the time JCT expresses its intent to retain

control, or which will be created in direct response to a JCT inquiry or oversight

request. Thus, records must pre-exist and be independent of any FOIA request.

      Congress cannot intend to control records that will only be defined and come

into existence on an ad hoc basis and according to an agency’s future interpretation

of a yet-to-be-submitted FOIA request. Cf. Paisley, 712 F.2d at 692–93 (“In the

absence of any manifest indications that Congress intended to exert control over

documents in an agency’s possession,” the records should be considered subject to

the FOIA.). The DOJ guidance on the definition of a “record” scrambles the analytic

framework of the entire agency-control inquiry and must be rejected.

      (6) The Presidential Records Act: Yet another reason why a record must

pre-exist a FOIA request is because the Presidential Records Act (“PRA”) relies on

that pre-existence for its operation.   The PRA includes a list of the types of

“documentary materials” that are appropriate for special treatment as presidential

records. See 44 U.S.C. § 2201(1). But the PRA expressly excludes “documentary

materials that are official records of an agency (as defined in [the FOIA])[.]” Id.


9CoA Institute takes no position here on whether these legends are sufficient to
designate such records as congressional records.


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§ 2201(2)(B) (emphasis added). The DOJ’s position would theoretically prevent the

White House or an agency from determining whether a particular document is

subject to the PRA, or whether it is excluded as an agency record, outside the FOIA

context. Agencies most often undertake such determinations when no FOIA request

has been submitted, especially when considering their PRA preservation

obligations.   If a record cannot be defined absent a request, how can the

interrelation between the PRA and the FOIA be determined?                    Proper

administration of the PRA requires that records already exist in the form and

format that the agency maintains them. Only then can presidential records be

distinguished from other materials.

                                      * * *

      The DOJ may respond that the only thing that needs to pre-exist a FOIA

request is a document and not a “record.”        See DOJ Guidance (using term

“document” thirty-two times).    But that substitution of terms offends statutory

interpretation.   The term “document” only appears in the FOIA six times, all

referring to the fees agencies may charge for document processing and reproduction.

The term “record” appears nearly one hundred times and in all the operative

subsections discussing search and disclosure.    See, e.g., 5 U.S.C. § 552(a)(2)(D)

(requiring proactive disclosure of “copies of records”); id § 552(a)(3)(A) (agencies

must disclose upon “request for records”); id. (requesters must “reasonably

describe[] such records”).




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      The DOJ’s declarant contends that the agency should not have to process

“superfluous, discrete packages of information” that it believes are non-responsive.

Decl. of Vanessa R. Brinkmann ¶ 17, ECF No. 19-2. This position must be rejected.

It introduces an entirely new and undefined term (“packages of information”) to the

analysis 10 and, most importantly, ignores the statutory text. Under the FOIA, a

requester has a right to records, not documents or discrete packages of “information

in the abstract.” Forsham, 445 U.S. at 185.

      The most natural and harmonious reading of the FOIA is that records must

already exist in fact within an agency’s control before a request is submitted. This

reading resolves all the conflicts discussed above.      The agency would be able

proactively to disclose a record; a requester would be able to seek access to it and

could reasonably describe it; venue would be proper wherever the record was

situated; records could properly be counted in annual FOIA reports; the FOIA would

harmonize with the PRA; and the agency-control test would make sense.

      D.     The DOJ guidance will impair CoA Institute’s lawful access to
             records in the future.

      To prevail on a policy-or-practice claim, a plaintiff must show that not only

does the policy violate the FOIA, as CoA Institute has shown above, but also that it

“will impair the party’s lawful access to information in the future.” CREW, 846

F.3d at 1242 (citations omitted).




10 See Def.’s Mot. at 5 (referring sometimes to “packages of records,” sometimes to
“[p]ackets”).


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      CoA Institute currently has many FOIA requests pending with the DOJ at

various stages of the administrative process or that are the subject of ongoing

litigation. Pl.’s SUMF ¶ 17; Answer ¶ 31 (admitted). The DOJ has instantiated its

policy in guidance and has applied it to CoA Institute’s FOIA requests several

times, including in this case. Pl.’s SUMF ¶ 15; Answer ¶ 21 (admitted). Thus, the

DOJ policy will impair CoA Institute’s lawful access to information in the future.

                                       * * *

      The Court should review de novo the DOJ’s interpretation of the definition of

a record both in its guidance and as applied to CoA Institute’s FOIA request. The

FOIA statute and Supreme Court precedent compel that the definition of a record is

(1) any informational material, (2) created or obtained by an agency, (3) in the

control of an agency when a request is made, and (4) in the format that the agency

maintains that material at the time of the request. The DOJ guidance defining a

record conflicts with this definition and violates the FOIA because it makes no effort

to apply the FOIA’s statutory text, uses the Privacy Act’s definition, and fails to

recognize that a record must pre-exist a request.       This policy will impair CoA

Institute’s access to information in the future. Summary judgment is appropriate

because the material facts underlying these claims are undisputed.

II.   The DOJ’s segmentation of QFRs into multiple “records” violates the
      FOIA because each letter and its attachments are a single record.

      A.     The DOJ produced four records to CoA Institute.

      The DOJ released four records responsive to FOIA request OLA/14-1096.

Pl.’s SUMF ¶ 9, Compl. Ex. 3. Those four records are:



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      Record 1: A May 16, 2011 email from Rita Aguilar to Faith Burton, et al.,

discussing Senate Appropriations QFRs. Compl. Ex. 3 at 3–7. The DOJ withheld no

information within this record and it is not implicated here.

      Record 2: A January 4, 2011 letter from Assistant Attorney General Weich

to House Committee on the Judiciary Chairman John Conyers. Id. at 8–21. The

letter referenced and included an attachment: a single, consecutively paginated

document containing responses to QFRs arising from an appearance of Attorney

General Holder before the committee.          Within the consecutively paginated

attachment, the QFRs and their responses were consecutively numbered, and the

attachment contained a single, overarching title formatted:

                           Questions for the Record
                     Attorney General Eric H. Holder, Jr.
                    U.S. House Committee on the Judiciary
                                 May 13, 2010

The DOJ withheld significant information within this record by applying redactions

labeled “Non-Responsive Record” and by excising many pages.

      Record 3: A September 14, 2010 letter from Assistant Attorney General

Weich to Senate Committee on the Judiciary Chairman Patrick Leahy. Id. at 22–28.

As with the previous record, this letter referenced and attached a single,

consecutively paginated document that contained responses to QFRs arising from

an appearance of Director Carbon of the Office of Violence Against Women before

the committee. The QFRs and their responses were consecutively numbered, and

the attachment included a single, overarching title formatted:

Questions for Director Carbon on “The Increased Importance of the Violence
  Against Women Act in a Time of Economic Crisis” from Senator Sessions


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The DOJ withheld significant information within this record by applying redactions

labeled “Non-Responsive Record.”

      Record 4: An April 21, 2010 letter from Senate Committee on the Judiciary

Chairman Patrick Leahy to Attorney General Holder. Id. at 29–35. The letter

referenced and attached two documents, both of which consisted of consecutively

numbered QFRs submitted by committee members, including a consecutively

paginated four-page document comprising a set of QFRs from Senator Coburn, and

a two-page document, without page numbers, comprising a set of QFRs from

Senator Feingold. Both attachments contained titles, formatted respectively:

                  Written Questions of Senator Tom Coburn, M.D.
                             Attorney General Eric Holder
                    Hearing: Oversight of the Department of Justice
                        U.S. Senate Committee on the Judiciary
                                    April 21, 2010

                         Senate Judiciary Committee Hearing
                     “Oversight of the U.S. Department of Justice”
                              Wednesday, April 14, 2010
                Questions Submitted by U.S. Senator Russell D. Feingold
                     to Attorney General Eric H. Holder Jr.

The DOJ withheld significant information within this record by applying redactions

labeled “Non-Responsive Record.”

      B.    Applying the FOIA’s definition of a record to each letter and its
            attachment shows that each letter is a record because the DOJ
            maintains them as one unit.

      As set forth above, the definition of a record under the FOIA is (1) any

informational material, (2) created or obtained by an agency, (3) within an agency’s

control when a request is submitted, and (4) in the format it is maintained by an

agency at the time of a request. Applying this definition to each of the letters and


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their attachments shows that each is a record and must be produced as a unit

without the use of “non-responsive” redactions.

      The DOJ does not dispute that the documents at issue here (1) are

informational material, (2) created or obtained by the DOJ, and (3) within its

control at the time of CoA Institute’s request. The only issue to be determined is

the form and format in which the DOJ maintained those documents at the time of

CoA Institute’s request.

      The DOJ revealed the form and format of the records at issue when it

responded to CoA Institute’s FOIA request and in the papers accompanying its

motion for summary judgment. As described above, the DOJ produced three cover

letters, each of which referenced an attachment (Record 4 contained two

attachments).   Each attachment is a unit, as evidenced by their consecutive

pagination, consecutive numbering of items within the document, and their titles—

a single, overarching identifying description that applies to the entire document.

The Gatore court reached the same result when considering an agency’s “FOIA

Processing Guide,” because it was “a cohesive record, complete with separately and

continuously numbered sections and appendices[.]” 2017 WL 10777326, *2.

       The three cover letters and their attachments comprise three records

because the letters reference and incorporate their attachments. See Parker, 278 F.

Supp. 3d at 451–52 (finding a letter and attachment were “one indivisible whole . . .

[because the letter] touches on the subject matter of the attachment and refers the

recipient to examine its contents”); Judge Rotenberng Educ. Ctr., 2019 WL 1296957,




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at *8 (collecting cases). For example, both Records 2 and 3 state: “Enclosed please

find responses to [QFRs] . . . . We hope that this information is of assistance to the

Committee.” Compl. Ex. 3 at 8, 22. And Record 4 states: “Attached are written

questions from Committee members. We look forward to including your answers to

these questions[.]” Id. at 29.

      The unitary nature of the three records is confirmed because the attachments

contain a consecutively numbered list within a single, consecutively paginated

document and because the DOJ had to redact individual QFRs, instead of just

withholding the entirety of a document. If the DOJ actually had maintained the

various QFRs each as a separate record in its recordkeeping system, it would not

have had to redact any portion of the attachments as a “non-responsive record.” It

simply would not have produced that QFR.

      The Brinkmann Declaration filed in support of the DOJ’s motion provides

additional support for the unitary nature of the records at issue. The declaration

details how the agency created or obtained and then maintained the letters and

their attachments as a unit. Ms. Brinkmann explains that “QFRs are normally first

received by [the Office of Legislative Affairs], who then divides the questions by

subject-matter and assigns individual questions to various individuals or

components to prepare responses based on expertise.” Brinkmann Decl. ¶ 20. She

recognizes that incoming QFRs “may be sent in multiple files, divided by Senator or

Representative, or they may be compiled into one large file.” Id. ¶ 21.




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      Ms. Brinkmann declares that “OIP understood the Congressional creators’

predominant purpose in compiling these disparate questions into one document to

be efficiency” and admits that it made “the decision to compile these disparate QFRs

into one ‘document.’” Id. ¶ 22 (emphasis added); see also id. (“QFRs provide an

opportunity for multiple members of Congress to each ask multiple questions all

within a single, compiled document.”); id. ¶ 16 (An “individual who created a given

document may have had a particular purpose for compiling certain distinct and

discrete pieces of information together.”); id. ¶ 17 (A record creator may compile

“disparate pieces of information together at the time a document was created[.]”).

      The DOJ wants to inject the intent of the record creator, as well as its own

discretion in interpreting the intent of a FOIA requestor, as a reason why a single

document should not be treated as a single record. See id. ¶ 22 (“original purpose

for compiling QFRs is efficiency”); id. ¶ 16 (“individual who created a given

document may have had a particular purpose”); id. ¶ 17 (“document is no longer

serving or furthering that purpose in the context of a FOIA review”). But neither

the intent of the record creator nor an agency interpretation of when that intent is

relevant is part of the definition of a record under the FOIA. What matters is

whether a record was in fact created, regardless of the intent of the record creator,

and how that new record is then maintained in the agency’s recordkeeping system.

When an agency compiles information into a single document and then maintains

the document as such in its recordkeeping system, that document is a record for

purposes of the FOIA.




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      This Court has already reached a similar conclusion as it relates to an email

chain. In American Oversight v. Department of Health and Human Services, this

Court explained that an email reply “incorporates what came before, and the two

[messages] form a unified exchange” and “[w]hether that was a conscious or

subconscious choice is irrelevant; what matters is that the emails sent by agency

personnel did in fact contain the prior exchanges with Congressional staff.” 2019

WL 1430429, at *3. The same is true here. It is irrelevant whether the person who

compiled the letters, the QFRs, and responses to those QFRs had a subjective intent

that they be treated as one record or many under the FOIA. All that matters is that

new records were created when those elements were combined. And now the DOJ

must produce those records “as a unit.” AILA, 830 F.3d at 677.

      Common sense and normal parlance bolster this result. In Gatore, the court

found that an agency revealed that its FOIA Processing Guide was “a cohesive

record” by “making multiple references” to it as one thing—a unit.       2017 WL

10777326, at *2. This result was not affected by the fact that the “FOIA Processing

Guide is hundreds of pages long and consists of separate and discrete sections

relating to any number of different FOIA-related topics.” Id. This Court likewise

noted that “it is commonly understood” that “the day-to-day reality of electronic

communication” means an email chain cannot be segmented into several records.

Am. Oversight, 2019 WL 1430429, at *3. Here, common sense directs that the QFRs

together with the cover letter (whose only purpose was to transmit the QFRs) are

one thing. It is normal parlance to refer to them as one cohesive document, as both




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parties have been doing throughout this litigation, especially as each attachment

has a unique, identifying title that applies to the document as a whole. See, e.g.,

Compl. Ex. 3 at 9 (“Questions for the Record, Attorney General Eric H. Holder, Jr.,

U.S. House Committee on the Judiciary, May 13, 2010”).

      The DOJ created a record when it gathered “distinct and discrete pieces of

information” from “various individuals or components to prepare responses” to the

QFRs and then put that information “within a single, compiled document.”

Brinkmann Decl. ¶¶ 16, 20, 22. The DOJ also created a record when it wrote a

cover letter to accompany those responses to the QFRs. Then, the DOJ created

Records 2 and 3 when it attached the responses to the QFRs to the cover letters.

Similarly, the DOJ obtained Record 4 when it received two sets of QFRs under a

single cover letter from Senator Leahy. See Compl. Ex. 3 at 29. The DOJ must now

release all three of those records in their entirety.

      C.     The DOJ’s administrability concerns are misplaced and
             irrelevant.

      The DOJ complains that it should not have to follow AILA and produce

records “as a unit” because to do so would be time-consuming and laborious. Def.’s

Mot. at 12. This concern is both misplaced and irrelevant.

      In its motion, the DOJ argues that if it had treated the QFRs and responses

“as one record, it would have had to devote time and resources to parsing [those]

records for exempt material on a line-by-line basis and engaging in consultations

with other agency components on this non-responsive information—time and

resources that can be spent responding to other FOIA requests.” Def.’s Mot. at 12–



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13. The DOJ has also raised this argument in its guidance and in the Brinkmann

Declaration. See DOJ Guidance at 1 (“Given that the processing of FOIA requests

can be very labor-intensive and time-consuming, it is in both the requesters’

interests and the agencies’ that time and resources not be expended unnecessarily

by reviewing material that was not requested.”); Brinkmann Decl. ¶¶ 17, 25.

      These concerns are both misplaced and easily assuaged. When it applied its

guidance in this case, the DOJ had to evaluate each individual QFR to determine

which were responsive and which were not, because the QFRs in each attachment

were maintained as a single document.         The agency, in other words, was still

required to expend time and resources to determine which portion of the document

it intended to produce.

      Moreover, it is already a best practice in FOIA administration for a FOIA

officer to establish an open line of communication with a requester. As the DOJ

itself advises, “[e]stablishing good communication and working cooperatively with

FOIA requesters is a very simple and yet essential element to ensuring that each

agency’s FOIA process is working[.]” The Importance of Good Communication with

FOIA Requesters, Office of Info. Pol’y, Dep’t of Justice, http://bit.ly/2IGW2dF (last

visited Apr. 26, 2019). It is commonplace for a FOIA officer to contact a requester to

discuss the scope of a request, as indeed happened here. See Compl. Ex. 3 at 1

(memorializing communications between the DOJ and CoA Institute over the scope

of the request); Pl.’s SUMF ¶ 24. It is similarly commonplace for a FOIA officer to

contact a requester after an agency has located responsive records to determine




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whether a requester wants the agency to process all the records located.         Pl.’s

SUMF ¶ 25. For example, a FOIA officer may contact a requester to determine

whether the requester wants the agency to produce extensive “news clippings” or

other records the FOIA officer believes a requester may not want, but which are still

responsive. Pl.’s SUMF ¶ 26.

      A similar approach would resolve any administrability concerns about long

records. If a FOIA officer locates a long responsive record that contains only a few

portions that the FOIA officer believes is “responsive information,” the FOIA officer

should contact the requester to determine whether the requester wants the entire

record or only those portions that the agency believes the requester will find useful.

A requester is, of course, free to accept less than an entire record.      But if the

requester would like the entire record—or if the agency does not consult with the

requester—the FOIA requires the agency to produce that record “as a unit.” AILA,

830 F.3d at 677.

      To resolve this issue otherwise would result in a pleading exercise where

requesters would have to include capacious language to compel an agency to

produce the entirety of a record, despite the presence of potentially unresponsive

information within that record. For example, CoA Institute has taken to adding the

following language to many of its FOIA requests:

      [I]f the agency uncovers responsive email records, CoA Institute’s
      request specifically seeks the entirety of any email chain, any portion
      of which contains an individual email message responsive to this
      request, i.e., the entire email chain is responsive.




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Pl.’s SUMF ¶ 27, Valvo Decl. ¶ 10. CoA Institute has felt compelled to do so because

agencies follow the DOJ guidance and try to evade the commonsense and natural

conclusion that an email chain is one record. The same is true here for the QFRs.

      In any event, it is irrelevant whether the DOJ believes it is burdensome to

comply with the FOIA and its terms. The statute controls. Its definitions must be

given effect. That the DOJ must devote time and resources to complying with the

FOIA and to produce records as a unit is no reason to ignore the FOIA.

                         CONCLUSION AND RELIEF SOUGHT

      For these reasons, CoA Institute urges the Court to deny the DOJ’s motion

for summary judgment; grant CoA Institute’s motion; declare the DOJ guidance in

violation of the FOIA; order the DOJ to withdraw it; order the DOJ to re-produce

Records 2, 3, and 4 in their entirety; and grant such other relief as the Court

considers appropriate.


Date: April 26, 2019                      Respectfully submitted,


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